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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                               :
KENNETH CORTEZ MINOR
                                               :

      v.                                       :    Civil Action No. DKC 09-2967
                                                    Criminal No. DKC 06-0028
                                               :
UNITED STATES OF AMERICA
                                               :

                               MEMORANDUM OPINION

      Presently     pending    and        ready         for   resolution         is   a   motion

filed by Petitioner Kenneth Cortez Minor to vacate, set aside,

or correct his sentence.              (ECF No. 342).               The relevant issues

have been briefed and the court now rules pursuant to Local Rule

105.6, no hearing being deemed necessary.                        For the reasons that

follow, the motion will be denied.

I.    Background

      By an indictment filed January 23, 2006, Petitioner was

charged with conspiracy to distribute and possess with intent to

distribute    500    grams     or    more          of    cocaine.          He     subsequently

entered into a plea agreement with the government.                                 Attached to

the    written    agreement         was    a       stipulation       of         facts,     which

described, inter alia, the circumstances of Petitioner’s arrest:

                  On February 2, 2006, law enforcement
             officers entered Kenneth Minor’s residence
             at 1620 Hamlin St., N.E., Washington, D.C.,
             to execute a search warrant. As members of
             the Metropolitan Police Department ascended
             the stairs and approached Minor’s bedroom,
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             Kenneth Minor fired two shots from a
             Highpoint Luger 9mm handgun toward the
             closed door of his bedroom.       One round
             lodged in the door frame and the other round
             penetrated the door and lodged in the
             stairway wall.     Officers did not return
             fire, and Minor barricaded himself inside
             the bedroom for approximately 1 ½ hours
             before surrendering.

(ECF No. 199, Ex. A, at 1).                Petitioner signed the statement of

facts, acknowledging that he had “carefully reviewed” it with

his attorney and that it was “true and correct.”                           (Id. at 2).

The parties further stipulated to a base offense level of 30,

which,     they    proposed,        would    be      increased       two   levels       for

possession of a dangerous weapon, and six levels, pursuant to

U.S.S.G.    §     3A1.2(c)(1),      “because,        during    the     course    of     the

offense,     [Petitioner]        knowingly         assaulted         law   enforcement

officers in a manner creating a substantial risk of serious

bodily injury.”       (ECF No. 199, at 4).1            By separately signing the

plea agreement, Petitioner acknowledged that he had “carefully

reviewed     every    part     of     it    with     [his]    attorney”;        that     he

understood      and   “[did]    not    wish     to    change     any    part”    of     the

“Factual and Advisory Guidelines Stipulation”; and that he was

“completely satisfied” with his counsel’s representation.                              (Id.

at 8).


     1
       The government stipulated that it would not oppose a two-
level reduction based on acceptance of responsibility and that,
if the offense level were 16 or higher, it would move for a
further decrease of one level.
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        At the Rule 11 hearing, Petitioner was placed under oath

and acknowledged his understanding of the charge against him and

the   litany   of     rights    he    was    required          to   waive      by    pleading

guilty.     He confirmed his awareness that the court was not bound

by the terms of the parties’ agreement, and that, if his plea

were to be accepted, he “[would] not be allowed to withdraw [it]

no matter what decisions [were made] at the time of sentencing.”

(ECF No. 270, at 10).            The court reviewed the content of the

written plea, in detail, emphasizing that it was “very important

that [he] understand all of its terms.”                             (Id.).          After the

prosecutor     read     the     statement         of     facts      into       the    record,

Petitioner confirmed that it was accurate and agreed that he was

guilty as charged.            (Id. at 14-15).                The court explained the

parties’ stipulations regarding the advisory guideline factors,

and Petitioner indicated that he understood.                             (Id. at 16-19).

After     further   affirming        that,       aside       from     the   written            plea

agreement,     no   other      promises      or    inducements           had    been       made,

Petitioner     stated   that     he   had        met    with    his    attorney           on   two

occasions to discuss the plea, that counsel had answered all of

his     questions,      and      that        he        was     satisfied         with           his

representation.         Based    on   these        sworn       statements,          the    court

accepted Petitioner’s guilty plea, finding that it was entered

into knowingly, voluntarily, and intelligently, and that there

was an adequate factual basis.

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       At the sentencing hearing on December 3, 2007, the court

adopted the parties’ recommendation of an adjusted offense level

of 35 and determined Petitioner was in criminal history category

I, resulting in a guideline range of between 168 and 210 months.

(ECF No. 271, at 5).            In arguing for the maximum term under the

guidelines, the government expanded upon the facts set forth in

the statement of facts related to Petitioner’s arrest:

               [W]hen law enforcement officers went to his
               residence to execute a search warrant, they
               knocked very loudly on that door.       They
               entered the door.   They had announced their
               presence loudly, and Mr. Minor chose to
               shoot at them through his bedroom door. . .
               . Mr. Minor then, probably in a moment of
               panic, decided to call 911 and report that
               someone had broken into his house.   Clearly
               the officers had knocked and announced
               loudly.    The 911 [operator] said, sir,
               they’re law enforcement officers.    They’re
               there executing a search warrant. Stop. He
               barricades himself in his house, despite
               that information, for over an hour and a
               half, creating even more danger to the
               officers who were on the scene.

(Id.     at   8).        The    prosecutor       asserted   that      “the   barricade

situation” was “not fully accounted for with just the six-level

increase” and that a sentence at the high end of the range was,

therefore, warranted.           (Id. at 8-9).

       In     opposing    the    government’s       argument,      defense     counsel

cited testimony by Petitioner’s wife at a pre-trial detention

hearing that the arrest “was a very chaotic event and that she

had no recollection of the police clearly identifying themselves

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until afterward[;] . . . in fact, the police officers, with

respect to their interaction with Ms. Minor, actually identified

themselves at the point of a gun.”                 (Id.).2         Defense counsel

maintained that the guideline range agreed to by the parties had

accounted for Petitioner’s conduct at the time of arrest and

that       “the   Government    should       be   restrained       by   their      own

agreement[.]”       (Id. at 10).

       Thereafter, as the court explained the rationale for the

sentence it would impose, Petitioner interrupted:

                   On the incident that keeps stating that
              I knew it was a police officer, in that case
              I dialed 911 twice. I stated – I stayed on
              the phone with them approximately – feels
              like it was about – about 10, 15 minutes
              apiece. I stated over and over again where
              are you located?    Officer, where are you
              located?   They kept stating that we’re on
              our way. We’re on our way. I said I think
              my family is in danger.      Some intruders
              [are] inside the house.   Stay on the phone
              with us.   Stay on the phone with us.    The
              phone hangs up.

                    I dialed 911 again.       Get another
              dispatcher.   He said the same thing.   The
              police is on their way.    We got the other
              call.   The police is on their way.    Just
              stay on the phone with us.

                   I’m busy trying to figure out, well,
              who is this inside the house if they keep
              saying the police is on their way[?]



       2
       Counsel later acknowledged that he was under the mistaken
impression that this hearing had been before the district judge
when, in fact, it was before a magistrate judge.
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(Id. at 18-19).     The court responded that, despite what may have

occurred at a prior hearing,

            [t]he plea here agrees that he shot through
            the door while the officers were going
            upstairs. . . . [There were] other people on
            the other side getting shot at even if you
            didn’t know for sure [that they] were police
            officers.   But what the guideline says is
            that you have reason to know that they are
            police officers.   And here, both because of
            the knock and announce, as well as the 911
            call, . . . you were told, and maybe you
            were too caught up in it to hear what was
            available,    but    you   did   acknowledge
            responsibility for that conduct in that
            fashion as part of the plea, and we’re not
            going behind that at this point.

(Id. at 20-21).     After addressing additional factors, the court

sentenced Petitioner to a term of imprisonment of 168 months –

i.e., at the bottom of the advisory guideline range – to be

followed by a four-year term of supervised release.

     Although Petitioner waived his right to appeal as part of

the plea agreement, he nevertheless filed a notice of appeal to

the United States Court of Appeals for the Fourth Circuit.                   By a

per curiam    opinion issued July 15, 2009, the Fourth Circuit

dismissed     the   appeal   in   part      and   affirmed      Petitioner’s

conviction.    See United States v. Minor, 328 Fed.Appx. 852 (4th

Cir. 2009).

     On November 9, 2009, Petitioner, proceeding pro se, filed

the pending motion to vacate, set aside, or correct his sentence

pursuant to 28 U.S.C. § 2255.           (ECF No. 342).        The government

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was directed to respond, and did so on February 28, 2011.                                  (ECF

No. 389).3

II.    Standard of Review

       To       be    eligible     for    relief   under       28   U.S.C.     §    2255,     a

petitioner must show, by a preponderance of the evidence, that

his “sentence was imposed in violation of the Constitution or

laws       of   the       United   States,   or    that    the      court     was    without

jurisdiction to impose such sentence, or that the sentence was

in    excess         of   the   maximum    authorized     by    law.”        28     U.S.C.    §

2255(a).         A pro se movant, such as Petitioner, is entitled to

have his arguments reviewed with appropriate consideration.                                 See

Gordon v. Leeke, 574 F.2d 1147, 1151–53 (4th Cir. 1978).                              But if

the § 2255 motion, along with the files and records of the case,

conclusively shows that he is not entitled to relief, a hearing

on the motion is unnecessary and the claims raised in the motion

may be dismissed summarily.                28 U.S.C. § 2255(b).

III. Analysis

       According to Petitioner, on the date of his arrest, police

officers executing the search warrant entered his home, without


       3
       When the response was not received by the scheduled date,
Petitioner moved for an order directing the government to show
cause why it should not be held in contempt.     (ECF No. 359).
The government later explained that the delay in filing was due
largely to the fact that the case was reassigned following the
transfer of the trial prosecutor.    (ECF No. 387).    The court
accepts this explanation, further finding that no prejudice
inured to Petitioner. Accordingly, this motion will be denied.
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first knocking and announcing their presence, and proceeded up

the stairs to his bedroom.              Purportedly unaware that they were

police     officers,    Petitioner       “fired    two     shots    at    the   bedroom

door[,] . . . barricaded himself in the bedroom[,] and began

dialing ‘911’ to [report] that some intruders had broken into

his home.”       (ECF No. 342-1, at 2).           He asserts that he was told

by the 911 operator that “officers [were] on their way” and that

he    remained      inside     the    barricade     for     approximately       ninety

minutes “awaiting the[ir] arrival[.]”                    (Id.).     “Once the hour

and    a    half     had     elapsed,”        Petitioner       alleges,     “the    law

enforcement        officials    []     decided    that     they     were    going    to

announce      themselves        as     officers,”         at     which     point     he

“unbarricaded [sic] himself from behind the bedroom door” and

was placed under arrest.             (Id.).

      His § 2255 motion attacks the application of the six-level

enhancement under U.S.S.G. § 3A1.2(c)(1) on two levels.4                         First,


      4
       As the Fourth Circuit explained in United                           States    v.
Frasier, 483 Fed.Appx. 791, 793 (4th Cir. 2012):

             Pursuant to USSG § 3A1.2(c)(1), a defendant
             qualifies for a six-level enhancement if,
             knowing   or   having reasonable   cause  to
             believe that a person is a law enforcement
             officer, he assaults the officer in a manner
             creating a substantial risk of serious
             bodily injury during the course of an
             offense or during immediate flight from the
             offense.    USSG § 3A1.2(c)(1).    Under the
             Guidelines, such conduct is tantamount to
             aggravated assault, USSG § 3A1.2 cmt. n.
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he    contends      that        his    trial          counsel        rendered         ineffective

assistance insofar as he (1) failed to inform him that “[he] was

going to be enhanced for firing a firearm at officers who [he]

thought were intruders” (ECF No. 342, at 8), and (2) “failed to

investigate the evidence and present a justification defense”

(ECF No. 342-1, at 6-7) –                    i.e., presumably, that Petitioner

justifiably        shot    at    the     individuals              through      the     door,    not

knowing     that    they    were       police         officers.          Petitioner       further

contends     that     the    court       erred         by     imposing         the    enhancement

because there was an inadequate factual basis for doing so.

      A.     Ineffective Assistance of Counsel

      Claims of ineffective assistance of counsel are governed by

the   well-settled         standard         adopted          by    the     Supreme      Court    in

Strickland     v.    Washington,            466       U.S.    668    (1984).           Under    the

Strickland     standard,         the    petitioner            must    show      both     that   his

attorney’s     performance            fell    below          an    objective         standard   of

reasonableness       and    that       he    suffered             actual    prejudice.          See

Strickland, 466 U.S. at 687.                      To demonstrate actual prejudice,

Petitioner must show there is a “reasonable probability that,

but   for    counsel’s      unprofessional              errors,          the    result    of    the


             4(A), which is defined as “a felonious
             assault that involved (A) a dangerous weapon
             with intent to cause bodily injury (i.e.,
             not merely to frighten) with that weapon;
             (B) serious bodily injury; or (C) an intent
             to commit another felony.”     USSG § 2A2.2
             cmt. n. 1.
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proceeding would have been different.”                  Id. at 694.          In the

context of a § 2255 motion challenging a conviction following a

guilty plea, the petitioner generally establishes prejudice by

demonstrating “a reasonable probability that, but for counsel’s

errors, he would not have pleaded guilty and would have insisted

on going to trial.”       Hill v. Lockhart, 474 U.S. 52, 59 (1985);

accord United States v. Mooney, 497 F.3d 397, 401 (4th                         Cir.

2007).

     In applying Strickland, there exists a strong presumption

that counsel’s conduct falls within a wide range of reasonably

professional conduct, and courts must be highly deferential in

scrutinizing counsel’s performance.               Id. at 688-89; Bunch v.

Thompson, 949 F.2d 1354, 1363 (4th Cir. 1991).                 Courts must judge

the reasonableness of attorney conduct “as of the time their

actions    occurred,    not    the    conduct’s       consequences     after      the

fact.”      Frye   v.   Lee,    235     F.3d   897,    906     (4th   Cir.   2000).

Furthermore, a determination need not be made concerning the

attorney’s performance if it is clear that no prejudice would

have resulted from some performance deficiency.                  See Strickland,

466 U.S. at 697.

     A    petitioner    who    pleads    guilty    has    an     especially    high

burden in establishing an ineffective assistance claim.                      As the

Supreme Court recently explained, “[t]he plea process brings to

the criminal justice system a stability and a certainty that

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must not be undermined by the prospect of collateral challenges

in cases . . . where witnesses and evidence were not presented

in the first place.”          Premo v. Moore, --- U.S. ----, 131 S.Ct.

733, 745-46 (2011).           Thus, a petitioner alleging ineffective

assistance     in    the    context       of     a    guilty     plea       must    meet     a

“substantial burden . . . to avoid the plea[.]”                         Id. at 746.

        That burden has not been met here.                     In his written plea

agreement, Petitioner stipulated to the application of the six-

level     enhancement,      specifically             acknowledging          that    he     had

carefully reviewed the document with his counsel and that he

“[did] not wish to change any part” of the “Factual and Advisory

Guidelines Stipulation.”            (ECF No. 199, at 8).                During his plea

colloquy, he confirmed, under oath, his understanding that the

enhancement    would       apply;    that       he     would    not     be    allowed       to

withdraw     his    plea    after    it     was       accepted     because         he    later

disagreed with some aspect of his sentence; and that he was

satisfied with his trial counsel’s representation in connection

with the plea.        Despite his sworn testimony to the contrary,

Petitioner    now    asserts    that,          shortly     after      the    pre-sentence

interview, his counsel “assured” him that his sentence would be

a term of imprisonment of “78 months, or . . . somewhere in the

10-year range,” and that, had he known he was going to receive

the six-level enhancement, he “would not have accepted the plea

offer.”    (ECF No. 342, at 8).

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       Absent    “extraordinary           circumstances,            the     truth       of     sworn

statements       made    during      a     Rule      11     colloquy        is    conclusively

established, and a district court should, without holding an

evidentiary hearing, dismiss any § 2255 motion that necessarily

relies    on    allegations       that     contradict          the   sworn        statements.”

United States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005);

see also United States v. Bowman, 348 F.3d 408, 417 (4th Cir.

2003) (“when a defendant says he lied at the Rule 11 colloquy,

he bears a heavy burden in seeking to nullify the process”);

Fields v. Attorney Gen. of Md., 956 F.2d 1290, 1299 (4th Cir.

1992) (“Absent clear and convincing evidence to the contrary, a

defendant is bound by the representations he makes under oath

during a plea colloquy”).                      Petitioner has not presented any

extraordinary         circumstances        warranting          relief.           He     does    not

appear to allege that his counsel induced his guilty plea by

promising a reduced sentence, but even if he did, he could not

show     prejudice       resulting        from       any      deficiency          because        the

transcript       of     the   Rule        11    hearing        reflects          that    he      was

sufficiently apprised of all facts necessary to make an informed

decision with respect to his plea.                           See Fed.R.Crim.P. 11(b);

United States v. Foster, 68 F.3d 86, 88 (4th Cir. 1988) (“any

misinformation         [the   petitioner]            may     have    received           from    his

attorney       was    corrected      by    the       trial     court      at     the     Rule     11

hearing, and thus [the petitioner] was not prejudiced”); see

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also Little v. Allsbrook, 731 F.2d 238, 241 (4th Cir. 1984) (“An

attorney’s ‘bad guess’ as to sentencing does not justify the

withdrawal of a guilty plea and is no reason to invalidate a

plea”).        Accordingly, Petitioner’s first ineffective assistance

claim cannot prevail.

       His second claim fares no better.                    It is not entirely clear

what Petitioner means when he faults his counsel for failing to

raise or investigate a “justification” defense, but his argument

appears to be that his attorney should have challenged that

Petitioner did not have reasonable cause to believe that he was

assaulting police officers, rather than unlawful intruders, when

he     fired    a     weapon       through     his       bedroom      door;       thus,       the

enhancement under U.S.S.G. § 3A1.2(c)(1) could not apply.                                     This

argument,       of    course,       overlooks        the      fact        that     Petitioner

stipulated       to   the    application        of   the      six-level          enhancement.

Having    specifically         agreed    that      the     enhancement       would       apply,

counsel’s performance could not have been deficient because he

failed    to     argue      that    it   should      not.        To   be     certain,         the

sentencing       transcript        reflects       that    both     Petitioner           and   his

counsel were aware of this issue, as they both alluded to the

fact    that     Petitioner        may   not    have      known      there       were    police

officers in his home at the time of the assault.                                 Counsel for

both parties argued that these facts had bearing on whether the

sentence should be at the top or bottom of the guideline range.

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There     was       never   any   dispute,       however,        that    the    six-level

enhancement under U.S.S.G. § 3A1.2(c)(1) would apply.                               To the

extent       that     the   justification        defense     cited       by    Petitioner

relates to a trial right, he specifically waived his right to

raise it by pleading guilty.               (See ECF No. 270, at 9).                It bears

mention, moreover, that a true justification defense would only

have been available in relation to an assault charge brought by

a superseding indictment, rather than the drug offense for which

Petitioner      stands      convicted.       Due    to     his    counsel’s        work    in

negotiating a plea to the drug offense, Petitioner managed to

avoid further prosecution.

        In support of his argument, Petitioner cites United States

v. Mooney, 497 F.3d 397 (4th Cir. 2007), in which the Fourth

Circuit found that a § 2255 petitioner was entitled to relief on

an ineffective assistance claim where his lawyer advised him

that     a      justification         defense      was      unavailable,            thereby

effectively inducing his guilty plea.                      That case is factually

inapposite.           The   issue    here   concerns       the        application     of   a

guideline enhancement, not a defense to the underlying charge.

Moreover,       the    instant    record    amply    reflects           that   Petitioner

agreed to the application of the enhancement at issue, and there

is no indication that his counsel misunderstood the guideline

language.           Thus,   there     is    no    showing        of     attorney     error.

Petitioner’s after-the-fact contention that he did not know the

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enhancement        would   be    applied    simply       cannot        be    countenanced,

particularly where he never moved to withdraw the plea prior to,

or    even   at,    the    sentencing       hearing,        by   which       time     it      was

abundantly clear that the guideline would include the six-level

enhancement.         Accordingly,       his      second     ineffective          assistance

claim must fail.

        Finally,     Petitioner       alleges        that    the       court      erred        in

applying     the     enhancement.             This     claim,      however,         is        not

cognizable in the context of a § 2255 motion because an alleged

miscalculation        of   the    guidelines         does    not   give        rise      to    a

constitutional issue.             See United States v. Pregent, 190 F.3d

279, 283-84 (4th Cir. 1999).

IV.    Conclusion

        For the foregoing reasons, Petitioner’s motion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255 will

be denied.

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is also required to

issue or deny a certificate of appealability when it enters a

final    order      adverse     to    the   petitioner.            A    certificate           of

appealability is a “jurisdictional prerequisite” to an appeal

from the court’s order.              United States v. Hadden, 475 F.3d 652,

659 (4th Cir. 2007).             A certificate of appealability may issue

“only if the applicant has made a substantial showing of the

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denial of a constitutional right.”                    28 U.S.C. § 2253(c)(2).

Where the court denies a petitioner’s motion on its merits, a

prisoner      satisfies      this     standard        by      demonstrating          that

reasonable    jurists     would     find    the   court’s      assessment       of    the

constitutional claims debatable or wrong.                     Slack v. McDaniel,

529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell, 537

U.S.   322,   336-38    (2003).        Where      a   motion     is    denied    on     a

procedural ground, a certificate of appealability will not issue

unless the petitioner can demonstrate both “(1) that jurists of

reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right and (2) that

jurists of reason would find it debatable whether the district

court was correct in its procedural ruling.”                     Rose v. Lee, 252

F.3d 676, 684 (4th Cir. 2001) (internal marks omitted).

       Upon   its   review    of    the     record,     the    court     finds       that

Petitioner does not satisfy the above standard.                     Accordingly, it

declines to issue a certificate of appealability.

       A separate order will follow.



                                                ________/s/_________________
                                                DEBORAH K. CHASANOW
                                                United States District Judge




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